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 1     Mary Carter Andrues (SBN 138486)
       mandrues@aplaw.law
 2     Vicki I. Podberesky (SBN 123220)
       vpod@aplaw.law
 3     Tabitha C. Zimbert (SBN 279520)
       tzimbert@aplaw.law
 4     ANDRUES/PODBERESKY
       818 West 7th Street, Suite 960
 5     Los Angeles, CA 90017
       Telephone: (213) 395-0400
 6     Facsimile: (213) 395-0401
 7     Attorneys for Defendant
       Glenn Arcaro
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                                  UNITED STATES DISTRICT COURT
11
                              SOUTHERN DISTRICT OF CALIFORNIA
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13
14     UNITED STATES OF AMERICA,              Case No. 21-CR-02542-TWR
15                  Plaintiffs,               DEFENDANT GLENN ARCARO’S
                                              SENTENCING SUMMARY
16           vs.                              CHART
17     GLENN ARCARO,                          Date:      September 16, 2022
                                              Time:      9:30 a.m.
18                  Defendants.               Judge:     Hon. Todd W. Robinson
                                              Courtroom: 3A
19
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21
22
23            Defendant Glenn Arcaro, by and through his counsel of record, Mary Carter

24     Andrues and Vicki I. Podberesky, hereby files his Sentencing Summary Chart, which

25     is based upon his Sentencing Memorandum, including exhibits, and the files and

26     records of his case.

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                       DEFENDANT GLENN ARCARO’S SENTENCING SUMMARY CHART
     Case 3:21-cr-02542-TWR Document 47 Filed 09/09/22 PageID.213 Page 2 of 3



 1     Dated: September 9, 2022                  Respectfully submitted,
 2
                                                 ANDRUES/PODBERESKY
 3                                               A Professional Law Corporation
 4
                                                 /s/ Mary Carter Andrues
 5                                               Mary Carter Andrues
 6                                               Vicki I. Podberesky
                                                 Attorneys for Defendant
 7                                               Glenn Arcaro
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                     DEFENDANT GLENN ARCARO’S SENTENCING SUMMARY CHART
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 SENTENCING SUMMARY CHART

                                                                                                                            USPO

                                                                                                                            AUSA

                                                                                                                            DEF        X

 Defendant's Name:                  Glenn Arcaro                        Docket No.             21-CR-2542-TWR

 Attorney=s Name:                   Mary Carter Andrues                 Phone No.:             (213) 395-0400

 Guideline Manual Used:             November 2021                       Agree with USPO Calc.:                        No

 Base Offense Level: (Drug Quantity, If Applicable:)          Conspiracy to Commit Wire Fraud                         7
                                                              [USSG § 2B1.1 (a)(2)]
 Special Offense Characteristics:
  Financial Gain [USSG §2B1.1 (K) (>9.5M)]                                                                        +20




 Victim Related Adjustment:     10+ Victims/Mass Marketing [USSG §2B1.1(b)(1)(A)]                                 +2

 Adjustment for Role in the Offense:      Aggravating Role [USSG §3B1.1(c)]                                       +2

 Adjustment for Obstruction of Justice:

 Adjustment for Reckless Endangerment During Flight:

 Adjusted Offense Level:                                                                                          31

                    Combined (Mult. Counts)               Career Off.                Armed Career Crim.

 Adjustment for Acceptance of Responsibility: Government Motion - [USSG§3E1.1(b)]                                 -3

 Total Offense Level:                                                                                            28

 Criminal History Score:                                                                                          0

 Criminal History Category:                                                                                       I

                    Career Offender                       Armed Career Criminal

 Guideline Range:                                                                       from                      78               months

       (Range limited by:                      minimum mandatory               statutory maximum)               to 91              months

 Departures:
 Government's sealed request for downward departure                                                              -5
Government's departure under Combination of Circumstances [USSG §5K2.0] pursuant to plea agreement               -1
Defendant's sealed request for downward departure                                                                 -2

                                                                                                      from                 31
                                                                                                                                    months
 Resulting Guideline Range: Adjusted Offense Level                                                    to                   41       months
   RECOMMENDATION:
  33 months' custody; 3 years' supervised release; no fine; forfeiture and restitution to be determined at a
  later hearing; $100 special assessment.
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